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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION

    GREGORY GREENE, JOSEPH LACK, and
    ANTHONY MOTTO, individually and on
    behalf of all others similarly situated,

                             Plaintiffs,                    Case No. 1:14-cv-01437

    v.                                                      Hon. Gary Feinerman

    MIZUHO BANK, LTD., a Japanese financial                 Magistrate Judge Susan Cox
    institution, and MARK KARPELES, an
    individual,

                             Defendants.



                                           JOINT STATUS REPORT

             Plaintiffs Gregory Greene, Joseph Lack, and Anthony Motto (“Plaintiffs”) and Defendant

Mizuho Bank, Ltd. (“Defendant,” and collectively the “Parties”), in accordance with the Court’s

July 21, 2016 Order (Dkt. 227), collectively submit this joint status report to inform the Court of

their proposed scheduling deadlines. The Parties’ proposed scheduling deadlines are as follows:


                         EVENT                                     PROPOSED DEADLINE
         Deadline for Plaintiff to File a Motion to             Plaintiffs’ Position: May 31, 2017
                 Amend the Complaint
                                                          Defendant’s Position: September 15, 2016 or
                                                          15 days after the Court issues the order on the
                                                          pending motion to dismiss (whichever is later)
          Deadline for Defendant to Answer the             Plaintiffs’ Position: 30 days after the Court
                       Complaint                            issues the order on the pending motion to
                                                                              dismiss

                                                          Defendant’s Position: If Plaintiff does not file
                                                          a motion to amend the complaint, then October
                                                            5, 2016 or 30 days after the Court issues the
                                                               order on the pending motion to dismiss
                                                          (whichever is later). If Plaintiff files a motion


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                                                       to amend the complaint, then 15 days after the
                                                            Court rules on the motion to amend
  Deadline to Complete Fact Discovery (both                   August 31, 2017 (12 months)
                class and merits)
    Plaintiff’s Deadline to Disclose Expert                         September 15, 2017
       Witnesses and File Expert Reports
  Defendant’s Deadline to Disclose Rebuttal                           November 1, 2017
  Expert Witnesses and File Rebuttal Expert
                     Reports
   Deadline to Complete Expert Discovery                            December 15, 2017
     Plaintiff’s Deadline to File for Class                         December 15, 2017
                  Certification
    Defendant’s Deadline to Oppose Class                             February 1, 2018
                  Certification
Plaintiff’s Deadline to File Reply in Support of                      March 1, 2018
               Class Certification
     Deadline to File Dispositive Motions              Eight weeks after receipt of Court’s order on
                                                                   Class Certification


                         *                         *                      *


                                             Respectfully submitted,

                                             GREGORY GREENE, JOSEPH LACK, and
                                             ANTHONY MOTTO, individually, and on behalf
                                             of a class of similarly situated individuals,

Dated: August 23, 2016                       By: /s/ Benjamin S. Thomassen

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                                       MIZUHO BANK, LTD.

Dated: August 23, 2016
                                       By:    /s/ Jeffrey J. Rsetaritis
                                                          One of Its Attorneys

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                                CERTIFICATE OF SERVICE

        I, Benjamin S. Thomassen, an attorney, hereby certify that I served the foregoing Joint
Status Report, by causing true and accurate copies of such paper to be transmitted to all counsel
of record via the Court’s CM/ECF electronic filing system on August 23, 2016.


                                             /s/ Benjamin S. Thomassen




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